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Attorneys for Defendants, Sherman Sorensen,
M.D. and Sorensen Cardiovascular Group

                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


   UNITED STATES OF AMERICA, ex rel.,
   GERALD POLUKOFF, M.D.,
                                                      SORENSEN DEFENDANTS’ MOTION
           Plaintiff/Relator,                          TO STAY DISCOVERY PENDING
                                                        RESOLUTION OF ITS MOTIONS
   v.                                                       BEFORE THE COURT

   ST. MARK’S HOSPITAL,                                    Case No. 2:16-cv-00304-TS-EJF
   SHERMAN SORENSEN, M.D., and
   SORENSEN CARDIOVASCULAR GROUP,                                  Judge Ted Stewart

           Defendants.                                     Magistrate Judge Evelyn J. Furse




        Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, Defendants, Sherman

Sorensen, M.D. and Sorensen Cardiovascular Group (“Sorensen Defendants”), by and through

their undersigned counsel, respectfully move this Court to enter an order staying discovery until

its motions pending before the court are resolved.


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                                       INTRODUCTION1

       On August 12, 2019, Dr. Gerald Polukoff (“Relator”) filed his Second Amended

Complaint against Sherman Sorensen, M.D., Sorensen Cardiovascular Group (“Sorensen

Defendants”), and St. Mark’s Hospital. St Mark’s Hospital answered the Second Amended

Complaint on September 26, 2019. See Answer to Second Amended Complaint St. Marks,

Docket No. 294. Sorensen Defendants answered the Second Amended Complaint on September

27, 2019. See Answer to Second Amended Complaint, Docket No. 295.

       Discovery in this case is active and ongoing.2 Expert discovery on the issue of standard of

care/medical necessity of PFO/ASD closures in the medical community will close on December

16, 2019. See Amended Scheduling Order, Docket No. 291, filed 9/13/19. Additionally, all

discovery related to all other topics will close on September 29, 2020. See Scheduling Order,

Docket No. 262, filed 4/8/19.

       On October 3, 2019, Sorensen Defendants filed a Motion to Exclude Experts (Docket No.

296) and a Motion to Strike Expert Reports (Docket No. 297). Additionally, on October 7, 2019,

Sorensen Defendants filed a Motion for Summary Judgment (Docket No. 300) requesting the

Court to dismiss Relator’s claims with prejudice. Sorensen Defendants’ Motion for Summary

Judgment, along with its other recently filed motions, is dispositive of all of Relators claims.

       Sorensen Defendants respectfully requests that this Court enter an order staying

discovery, pending the resolution of its motions pending before the Court for two reasons. First,


       1
          For the purposes of brevity, Sorensen Defendants will not discuss the relevant factual
and procedural background that extends beyond Relator’s Amended Complaint, Docket No. 289,
filed on 8/12/19.
        2
          Relator has asked for dates in relation to when it can depose Sorensen Defendants’
experts.
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this Court has discretion in deciding whether to stay discovery while dispositive motions are

pending before the court. Second, it is in the interests of both parties and judicial economy for

this Court to stay discovery. Thus, for the following reasons, this Court should grant Sorensen

Defendants’ Motion to Stay Discovery Pending Resolution of its Motions Before the Court (“this

Motion”).

                                            ARGUMENT

    I.      LEGAL STANDARD GOVERNING A MOTION TO STAY

    Courts have the discretion to “control the disposition of causes of action of its docket with

economy of time and effort of itself, for counsel, and for the litigants.” Landis v. North American

Co., 299 U.S. 248, 254 (1936). Thus, a court’s decision to stay discovery is discretionary, where

“[a] court has broad inherent power to stay discovery until preliminary issues can be settled

which may be dispositive of some important aspect of the case.” Matrix Group, LLC v.

Innerlight Holdings, Inc., 2012 WL 5397118, *4 (D. Utah Nov. 5, 2012) (citation and quotation

marks omitted). See also Kickapoo Reservation in Kansas v. Nemaha Brown Watershed Joint

Dist. No. 7., 2013 WL 3821201, * 1 (D. Kan. July 23, 2013) (“Stemming from its authority over

its docket, a court has broad discretion in determining whether to grant a motion to stay

discovery”).

    Even though courts will typically refrain from lengthy and unnecessary stays of litigation,

district courts have recognized that when a dispositive motion is pending before the court and

resolution of the motion may dispose of the entire case, staying discovery can be an appropriate

exercise of the discretion of the court. See Matrix Group, LLC, 2012 WL at *4; Profitstreams

LLC v. Ameranth, Inc., 2011 WL 5024912, *1 (D. Colo. Oct. 21, 2011). Additionally, as


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discovery is “time consuming and expensive for both parties and the Court,” stays of discovery

pending resolution of a dispositive motion are frequently granted. Barnes v. Harris, 2013 WL

1737950, * 2 (D. Utah Apr. 18, 2013).

    Ultimately, in determining whether the Court should stay discovery pending resolution of a

dispositive motion, a court is tasked to exercise its judgment, “which must weigh competing

interests and maintain an even balance.” Landis, 299 U.S. at 254. A stay of discovery is not

warranted, solely because there is a dispositive motion pending before a court. Rather, “a party

must demonstrate a clear case of hardship or inequity.” Matrix Group, LLC, 2012 WL at *4

(citing Ben Ezra, Weinstein, & Co v. America Online, Inc., 206 F.3d 980, 987 (10th Cir. 2000))

(internal quotations omitted).

    II.      THE COURT SHOULD STAY ALL DISCOVERY PENDING RESOLUTION
             OF THE MOTIONS BEFORE THE COURT

    Sorensen Defendants will suffer an inequity if discovery can continue while its motions are

pending before the Court. Furthermore, Relator would suffer no prejudice if discovery was

stayed. And finally, it is in the interest of judicial economy for the Court to grant this Motion.

    It would be a clear inequity to require Sorensen Defendants to continue with discovery for

three reasons. First, Sorensen Defendants have filed a Motion for Summary Judgment, which

argues that Relator’s case should be dismissed because there is no genuine dispute as to the

material facts of the case and they are entitled to judgment as a matter of law because Relator

cannot prove the submission of false claims under the standard of care applied in the Tenth

Circuit.

    Second, Sorensen Defendants have also filed a Motion to Exclude Relator’s Experts (Docket

No. 296) and a Motion to Strike Relator’s Expert Reports (Docket No. 297). If these motions are

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also granted, Relator will not be able to produce any evidence, as is required to bring a claim

under the false claims act in the Tenth Circuit. Essentially, if these motions are granted, Relator

has no case against Sorensen Defendants and its claims will be dismissed with prejudice.

    Third, as expert discovery regarding the issue of standard of care/medical necessity is

ongoing, Sorensen defendants will suffer an inequity with having to expend resources on

Relator’s continued requests for discovery, even though they have no evidence to support their

claims. Relator plans on deposing Sorensen Defendants experts before the close of discovery on

December 16, 2019. Allowing Relator to conduct depositions of the Sorensen Defendants’

experts will require considerable expense for not only the Sorensen Defendants, but also for

Relator.

    As to Relator, it will not suffer any prejudice by this Court granting this Motion. Rather, by

this Court staying discovery until it has resolved Sorensen Defendants’ three pending motions,

Relator will be saved from unnecessary expenses that will be incurred through conducting

unnecessary depositions of Sorensen Defendants’ experts.

    Additionally, is also in the interests of judicial economy and the convenience of this Court to

grant this Motion because with the stay, this litigation will not proceed in a piecemeal fashion,

which would occur if discovery can continue. It would also be “wasteful” of the Court’s

resources to address any potential discovery issues that may arise, while Sorensen Defendants

motions are pending before the Court. It is also in the interest of the general public to promote

just and efficient litigation that avoids efforts from a court that can be deemed as being wasteful

under the circumstances.




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                                        CONCLUSION

       For the reasons stated above in this Motion, Sorensen Defendants respectfully requests

that this Court order a stay on all discovery until the Court resolves Sorensen Defendants’

Motion for Summary Judgment, Motion to Exclude Experts, and its Motion to Strike Expert

Reports.



DATED: October 7, 2019

                                                     STIRBA, P.C.

                                                     /s/ Matthew Strout
                                                     PETER STIRBA
                                                     MATTHEW STROUT

                                                     Attorneys for Defendants Sherman
                                                     Sorensen, M.D., and Sorensen
                                                     Cardiovascular Group




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2019, I electronically filed the foregoing SORENSEN

DEFENDANTS’ MOTION TO STAY DISCOVERY PENDING RESOLUTION OF ITS

MOTIONS PENDING BEFORE THE COURT with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to the CM/ECF participants

registered to receive service.


                                                          /s/ Randy Torres




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